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UNITED STATES BANKRUPTCY COURT                                                                 FILED
 WESTERN DISTRICT OF OKLAHOMA                                                                Mar. 1, 2019
                                                                                          Douglas E. Wedge , Clerk
                                                                                           U.S. Bankruptcy Court
                                                                                         Western District of Oklahoma



IN RE:
Judith Darlene Snow                                             Case Number: 18−14846 − JDL

       Debtor(s).                                               Chapter 13




                                    NOTICE OF HEARING
                                          ( F.R.Bankr.P. 9014)

  You are hereby noticed that
29 − Application to Reschedule Hearing On (related documents 27 Notice of Hearing) With Brief in Support,
With Certificate of Service, With Notice and Opportunity for Hearing, Filed by Matthew J. Hudspeth of Baer
and Timberlake PC on behalf of QUICKEN LOANS INC. (Hudspeth, Matthew)

will be heard by Judge Janice D. Loyd on March 6, 2019 at 09:30 AM in the 2nd Floor
Courtroom, 215 Dean A. McGee Avenue, Oklahoma City, OK 73102.




Dated: March 1, 2019                                            BY ORDER OF THE COURT,
                                                                Douglas E. Wedge, Clerk
                                                                By: /s/Debbie Rohde
                                                                Debbie Rohde, Deputy
